
The Supreme Court affirmed the decision of the Court below, on May 5th, 1884, in the following opinion:
Per Curiam.
This was mainly a question of fact. That an action of assumpsit will lie to recover back, the money paid, in the case of the refusal of a vendor to fulfill his parol agreement, to convey land, is well settled. The vendee cannot recover damages for the value of his bargain, and he did not in this case. The jury were instructed that the recovery could be for the money paid, and the expenses incurred on the faith of the bargain. It is not contended that the vendee recovered for any improper item. The question of fraud did not control the action to recover. It rested on a breach of contract. We see no error in the answers to the points, nor in the charge.
Judgment affirmed.
